              Case 2:03-cr-20039-PKH   Document 174   Filed 01/31/06    Page 1 of 1 PageID #: 67



                                   IN THE UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF ARKANSAS
                                           FORT SMITH DIVISION

                    UNITED STATES OF AMERICA                           PLAINTIFF/RESPONDENT

                          V.                    Civil No. 05-2012
                                        Criminal No. 03CR20039-003

                    SON TRUONG NGUYEN                                     DEFENDANT/MOVANT


                                                  O R D E R

                          On this 31st day of January 2006, there comes on for

                    consideration the report and recommendation filed in this

                    case on January 13, 2006, by the Honorable Beverly Stites

                    Jones, United States Magistrate for the Western District of

                    Arkansas. (Doc. 170). Movant has filed written objections to

                    the report and recommendation. (Doc. 172).

                          The court has reviewed this case de novo and, being well

                    and sufficiently advised, finds as follows:              The report and

                    recommendation is proper and should be and hereby is adopted

                    in its entirety.      Accordingly, the 28 U.S.C. § 2255 motion

                    (Doc. 136) is DENIED AND DISMISSED WITH PREJUDICE.

                          IT IS SO ORDERED.



                                                       /s/ Robert T. Dawson
                                                       Honorable Robert T. Dawson
                                                       United States District Judge




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(Rev. 8/82)
